         Case 1:18-cv-02150-ELH Document 5 Filed 07/17/18 Page 1 of 11
BRADY FISCHEL & DAILY, LLC
                             ATTORNEYS-at-LAW


                                          July 17, 2018


SENT VIA ECF
The Honorable Ellen Lipton Hollander
District Court Judge
The United States District Court for the District of Maryland
101 West Lombard Street
Baltimore, MD 21201

       Re:     AT&T Corp. v. Cuddy & Associates, LLC
               Civil Action No. ELH-18-2150
               Statement in Response to the Court’s July 16, 2018 Memorandum to Counsel

Dear Judge Hollander,

        Undersigned counsel is in receipt of the Court’s July 16, 2018 Memorandum to Counsel in
which the Court requests that counsel for AT&T submit a statement clarifying the parties’
citizenship and basis for the Court’s exercise of diversity jurisdiction. Please let this
correspondence serve as the requested statement.

         Defendant Cuddy & Associates, LLC, is a Maryland limited liability company. Cuddy &
Associates, LLC, is comprised of a single member: Pamela L. Cuddy (“Ms. Cuddy”). Ms. Cuddy
is a citizen of Maryland with a last known address of 2502 Chilberry Avenue, Joppa, Maryland
21085. Cuddy & Associates, LLC, is certified by the Maryland Office of Minority Business
Enterprise (“OMBE”). Cuddy & Associates, LLC’s OMBE firm profile lists its website as
“www.cuddyandassociatesllc.com”. See Exhibit A. On its website, Ms. Cuddy is listed as the
“Sole Member/Owner”. See Exhibit B. Ms. Cuddy’s residential address is available via the
Maryland Department of Assessments and Taxation’s Real Property Data Search. See Exhibit C.

        As Plaintiff AT&T Corp. is a New York corporation, with its principal place of business
in Bedminster, New Jersey, the sole member of Cuddy & Associates, LLC, is a citizen of
Maryland, and the amount in controversy exceeds $75,000.00, this Court may exercise diversity
jurisdiction pursuant to 28 U.S.C. § 1332(a).

       Please do not hesitate to contact undersigned counsel should the Court require any
additional information or a more formal filing.
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BRADY FISCHEL & DAILY, LLC
                           ATTORNEYS-at-LAW
Judge Hollander
July 17, 2018
Page 2



                                          Very truly yours,




                                          /s/ John R. Fischel
                                          John R. Fischel, Esq. (#25690)
                                          James Phelan Robinson, Esq. (#19816)
                                          BRADY, FISCHEL & DAILY, LLC
                                          721 Melvin Avenue
                                          Annapolis, Maryland 21401
                                          Phone: (410) 216-9054
                                          Fax: (410) 216-9034
                                          john@bfdlegal.com
                                          james@bfdlegal.com


                                          Troy A. Glander, Esq.*
                                          ALLAN, NAVA, & GLANDER PLLC
                                          13409 NW Military Hwy, Suite 300
                                          San Antonio, Texas 78231
                                          Phone: (210) 787-5446
                                          Fax: (210) 305-4219
                                          TGlander@ANGlawfirm.com
                                          * Pro hac vice to be submitted


                                          Attorneys for Plaintiff AT&T Corp.




cc: Cuddy & Associates, LLC**


** This Statement shall be served on Defendant Cuddy & Associates, LLC, concomitantly
with the Complaint and summons.
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EXHIBIT A
State of Maryland Minority Business Enterprise Program

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       Complete Firm Profile                                                                                       Frequently Asked Questions
        
       Firm Detail                                       NAICS - Product and Service Description
        
       Firm Name:                                        237130 - MBE/DBE/SBE - POWER AND COMMUNICATION LINE AND RELATED STRUCTURES
                                                         CONSTRUCTION
         CUDDY & ASSOCIATES, LLC                         (SPECIFICALLY: INSTALLATION OF UNDERGROUND CONDUIT, COMMUNICATION LINES AND
                                                         FIBER OPTICS)

       Minority Status - Cert # - Date:

         FEMALE
                                         238910 - MBE/DBE/SBE - SITE PREPARATION CONTRACTORS
         12-623
                                         (SPECIFICALLY: EXCAVATION CONTRACTOR)

         11/28/2012

       Address:                                          238990 - MBE/DBE/SBE - ALL OTHER SPECIALTY TRADE CONTRACTORS
                                                         (SPECIFICALLY: CONCRETE SIDEWALK REMOVAL, REPAIR, AND REPLACEMENT, INSTALLATION
         1100 BATAVIA FARM ROAD                          OF CONCRETE BASES FOR PEDESTALS)

         ROSEDALE, MD 21237
         BALTIMORE COUNTY
                                                         561990 - MBE/DBE/SBE - ALL OTHER SUPPORT SERVICES
       Contact:                                          (SPECIFICALLY: MAINTENANCE OF TRAFFIC, TRAFFIC SAFETY, FLAGGING)

         PAMELA L. CUDDY

       Phone - Fax - Email - Website:

         (P) 410-686-7200

         (F) 410-686-7210

         CUDDYLLC@GMAIL.COM

         WWW.CUDDYANDASSOCIATESLLC.COM


       References:

         NO REFERENCE DATA ON RECORD



        
                                                                                               LOGIN to MDOT's Annual Review Document Portal

                                                                                                                                   what is this? 




https://mbe.mdot.maryland.gov/directory/search_detail.asp?FirmID=18954[7/16/2018 3:36:55 PM]
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EXHIBIT B
Cuddy & Associates LLC - Contact Us

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                                             Contact Us
                                              
                                             Pamela L Cuddy, Sole Member/Owner
                                             (410) 977-7426
                                              
                                             William "Butch" Cuddy, Estimator
                                             (443) 388-0924


                                             Lisa Cuddy, Human Resource Director
                                             410-686-7200 Call about open positions!!
                                              
                                             Joseph "Mike" Cuddy, Superintendent
                                             (443) 388-0925
                                              
                                             Jonathan Stewart, Field Supervisor
                                             (443) 388-0927
                                              
                                             Main Office:
                                             1100 Batavia Farm Road
                                             Upper Level
                                             Rosedale, Maryland 21237
                                              
                                             Equipment Yard:
                                             928 Batavia Farm Road
                                             Rosedale, Maryland 21237
                                              
                                             (410) 686-7200 Office
                                             (443) 969-2972 Yard
                                             (410) 686-7210 Fax
                                             cuddyllc@gmail.com



https://www.cuddyandassociatesllc.com/Contact-Us.html[7/16/2018 3:34:15 PM]
Cuddy & Associates LLC - Contact Us

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                                                                      Website Builder
                                                                   provided by Vistaprint




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EXHIBIT C
SDAT: Real Property Search

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        MENU                                                                                          Maryland.gov   Phone Directory   State Agencies   Online Services




       Real Property Data Search                                                                           Guide to searching the database




       Search Result for HARFORD COUNTY



                                                                                                                       New      Search 
 Previous

             View Map                        View GroundRent Redemption                                   View GroundRent Registration



           Tax Exempt:                                                   Special Tax Recapture:
           Exempt Class:                                                 NONE

         Account Identifier:                           District - 01 Account Number - 094017

                                                                         Owner Information
         Owner Name:                                   CUDDY WILLIAM H III                Use:                          RESIDENTIAL
                                                       CUDDY PAMELA L                     Principal Residence:          YES
         Mailing Address:                              2502 CHILBERRY AVE                 Deed Reference:               /05611/ 00459
                                                       JOPPA MD 21085-2308
                                                                Location & Structure Information
         Premises Address:                             2502 CHILBERRY AVE                 Legal Description:            LT 8 280/213X270
                                                       JOPPA 21085-2308                                                 2502 CHILBERRY AVENUE
                                                                                                                        GREENSPRING HILLS P 8/29

           Map:       Grid:        Parcel:      Sub            Subdivision:           Section:   Block:    Lot:        Assessment               Plat        8029
                                                District:                                                              Year:                    No:
           0060       0003F        0301                        0134                   1          B         8           2018                     Plat
                                                                                                                                                Ref:




https://sdat.dat.maryland.gov/RealProperty/Pages/default.aspx[7/16/2018 3:36:01 PM]
SDAT: Real Property Search

                         Case
           Special Tax Areas:          1:18-cv-02150-ELH Document 5 Filed 07/17/18 Page 10 of 11
                                                               Town:                          NONE
                                                                                      Ad Valorem:
                                                                                      Tax Class:

           Primary Structure                 Above Grade Living                  Finished Basement               Property Land              County
           Built                             Area                                Area                            Area                       Use
           1965                              2,016 SF                                                            1.5300 AC

           Stories       Basement          Type                  Exterior                   Full/Half           Garage        Last Major
                                                                                            Bath                              Renovation
           2             NO                SPLIT                 1/2 STONE                  1 full/ 1 half      1Att/1Det
                                           LEVEL                 SIDING

                                                                          Value Information

                                                     Base Value                   Value                      Phase-in Assessments
                                                                                  As of                      As of                 As of
                                                                                  01/01/2018                 07/01/2017            07/01/2018
           Land:                                     120,300                      105,300
           Improvements                              193,600                      207,100
           Total:                                    313,900                      312,400                    313,900               312,400
           Preferential Land:                        0                                                                             0

                                                                        Transfer Information

           Seller: STROHMINGER GEORGE H                                 Date: 09/23/2004                                  Price: $279,900
           Type: ARMS LENGTH MULTIPLE                                   Deed1: /05611/ 00459                              Deed2:

           Seller:                                                      Date:                                             Price:
           Type:                                                        Deed1:                                            Deed2:

           Seller:                                                      Date:                                             Price:
           Type:                                                        Deed1:                                            Deed2:

                                                                      Exemption Information

         Partial Exempt Assessments:                     Class                             07/01/2017                  07/01/2018
         County:                                         000                               0.00
         State:                                          000                               0.00
         Municipal:                                      000                               0.00|0.00                   0.00|0.00

           Tax Exempt:                                                   Special Tax Recapture:
           Exempt Class:                                                 NONE

                                                               Homestead Application Information
         Homestead Application Status: Approved   04/24/2009

                                                     Homeowners' Tax Credit Application Information
         Homeowners' Tax Credit Application Status: No Application                         Date:




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                                                                                        New   Search 
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         Maryland Relay (800) 735-2258




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